Case 1:23-mj-00069-LDA            Document 1-1        Filed 10/26/23     Page 1 of 17 PageID #: 2




                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND
 UNITED STATES OF AMERICA
                                                                1:23-MJ-00069 LDA
                                                      Case No. ____________________
                       VS.

 JEFFREY LOCKE SLINN (YOB: 1981)

                                           AFFIDAVIT
I, Craig A. Graham, having been duly sworn according to law, depose and state as follows:

       1.      I am a Special Agent with Federal Bureau of Investigation (FBI), and I am assigned

to the Boston Field Office, Providence, RI. I have been an FBI agent since 2010. As part of my

duties, I am authorized to investigate violations of the laws of the United States, including criminal

violations relating to child exploitation, child pornography, coercion and enticement, and

transportation of minors, including, but not limited to, violations of 18 U.S.C. §§ 2422, 2252A and

1470. I have received training in the investigation of internet crimes, child exploitation,

transportation of minors, and child sexual abuse, and have observed and reviewed examples of

child pornography (as defined in 18 U.S.C. § 2256). As a federal agent, I am authorized to

investigate violations of laws of the United States and to execute warrants issued under the

authority of the United States.

       2.      This Affidavit is submitted in support of a criminal complaint and arrest warrant

for JEFFREY LOCKE SLINN (“SLINN”). As will be shown below, there is probable cause to

believe that between approximately July 14, 2023, and August 1, 2023, SLINN used a facility and

means of interstate or foreign commerce, to wit the internet and a cellular telephone manufactured

in interstate or foreign commerce, to knowingly attempt to persuade, induce, entice, or coerce an

individual who had not attained the age of 18 years, to engage in sexual activity for which any

person can be charged with a criminal offense in violation of 18 U.S.C. § 2422(b). In addition,

                                                  1
Case 1:23-mj-00069-LDA                Document 1-1            Filed 10/26/23        Page 2 of 17 PageID #: 3




there is probable cause to believe on or about July 22, 2023, SLINN did knowingly transfer

obscene material to another individual under the age of sixteen years using the mail or any means

or any facility of interstate or foreign commerce in violation of 18 U.S.C. § 1470.

         3.       The statements in this Affidavit are made based upon my personal participation in

this investigation, review of various documents, as well as information provided to me by other

members of the FBI, as well as members of the Ocean Township Police Department, New Jersey

and Warwick Police Department, Rhode Island, and other law enforcement officers, my own

training and expertise as a criminal investigator, as well as the training and expertise of other

criminal investigators involved with this investigation. I have set forth the facts that I believe

establish probable cause to believe that SLINN violated the aforementioned criminal statute.

                                STATEMENT OF PROBABLE CAUSE

         5.       On August 1, 2023, the Ocean Township Police Department (hereinafter “OTPD”)

responded to a residence in Waretown, New Jersey, regarding an online incident involving a minor.

The minor was identified as an 11-year-old female born in 2011 (hereinafter “MINOR 1”).

         6.       Law enforcement officers spoke with both MINOR 1 and MINOR 1’s mother.

Officers learned that approximately one month prior, MINOR 1 had obtained a cell phone from

her aunt’s residence without permission. Officers also learned that MINOR 1 used that cell phone

to communicate with multiple Snapchat1 accounts and had exchanged nude images with some of

those accounts.




1
 Snapchat is a social media application developed by Snap Inc. One of the principal features of Snapchat is that it
allows messaging among users, and the pictures and messages exchanged are usually only available for a short time
before they become inaccessible to their recipients. The application uses the device’s data plan or Wi-Fi to transmit
and receive messages, photos, videos, and other content.

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Case 1:23-mj-00069-LDA         Document 1-1        Filed 10/26/23     Page 3 of 17 PageID #: 4




        7.      OTPD obtained consent to search MINOR 1’s cell phone. An extraction of the

phone’s contents was completed by law enforcement on August 8, 2023. A copy of the extraction

was later provided to the Warwick PD and then to FBI Providence.

        8.      A review of the cellphone extraction identified communications between MINOR

1’s Snapchat account and a Snapchat account with the display name “Sarah Smith” bearing

username “sksmith2008” (hereinafter “sksmith2008”). “Sksmith2008” communicated with

MINOR 1 from July 14, 2023, until August 1, 2023. While text communications exchanged

between MINOR 1 and “sksmith2008” were captured in the cellphone extraction, many of the files

exchanged were not viewable. These files appeared within the extraction as “Expired Media” and

had a file size of zero.

        9.      In initial communications with MINOR 1, “sksmith2008” identified themself as a

14-year-old female from Canada. MINOR 1 identified herself as a 13-year-old female from New

Jersey. From the text content of their messages, the two accounts appeared to share images of

themselves. However, those files were not viewable by your Affiant.

        10.     Approximately fifteen minutes after first contacting MINOR 1 on July 14, 2023,

“sksmith2008” sent MINOR 1 the text message “Ugh. My friends are freaking out. My step

brother posted a kinda dirty snap story.” “Sksmith2008” later identified the stepbrother as being

named “Mike” and him being 19 years old. MINOR 1 also communicated to “sksmith2008” that

she had a brother who was 14 years old.

        11.     A review of MINOR 1’s phone communications revealed that MINOR 1 separately

exchanged text messages with a Snapchat account having the display name of “Mike Smith”

bearing username “smitty333222” (hereinafter “Mike”) on July 14, 2023, between approximately




                                               3
Case 1:23-mj-00069-LDA         Document 1-1         Filed 10/26/23    Page 4 of 17 PageID #: 5




8:20pm and 8:44pm. From the text content of their messages, it appeared that MINOR 1 sent

“smitty333222” images of herself. However, those files were not viewable by your Affiant.

       12.     During this time, “sksmith2008” and MINOR 1 discussed posting images of

themselves on Snapchat and exchanged files. One of the images was described by “sksmith2008”

as depicting her nipples visible through a piece of clothing. None of the images discussed at that

time were viewable to law enforcement. MINOR 1 then exchanged the following messages with

“sksmith2008”:

 sksmith2008; 07/14/2023-8:36pm      Ask Mike what he thinks of your pic?!
 MINOR 1; 07/14/2023-8:36pm          Ok
 sksmith2008; 07/14/2023-8:36pm      Ugh. I gotta go help my mom with dishes and laundry
                                     chores.
 MINOR 1; 07/14/2023-8:36pm          Ok
 sksmith2008; 07/14/2023-8:36pm      Be back later
 MINOR 1; 07/14/2023-8:36pm          Ok
 MINOR 1; 07/14/2023-8:43pm          [Expired Media]
                                     [Expired Media]
 sksmith2008; 07/14/2023-8:45pm      Ooooo. Haha
 MINOR 1; 07/14/2023-8:45pm          Yuh
 sksmith2008; 07/14/2023-8:47pm      See told ya you look hot!!
 MINOR 1; 07/14/2023-8:47pm          Thank u
 sksmith2008; 07/14/2023-8:47pm      What else he saying?
 MINOR 1; 07/14/2023-8:47pm          Idk
                                     I un added him
 sksmith2008; 07/14/2023-8:48pm      Ask if it’s better then my pic! Hahaga
                                     Ohhh ok!!
 MINOR 1; 07/14/2023-8:48pm          He’s weird
 sksmith2008; 07/14/2023-8:48pm      What did he do?
 MINOR 1; 07/14/2023-8:49pm          Ask him
 sksmith2008; 07/14/2023-8:49pm      Ok
 MINOR 1; 07/14/2023-8:49pm          Kk
 sksmith2008; 07/14/2023-8:51pm      He said you just disappeared. Haha
 MINOR 1; 07/14/2023-8:51pm          Haha
 sksmith2008; 07/14/2023-8:52pm      Imagine if we both sent him a see thru one. Hahaha
                                     Haha I should add your bro and send him something !!
                                     Haha
 MINOR 1; 07/14/2023-8:53pm          He don’t have his phone
                                     He is grounded
 sksmith2008; 07/14/2023-8:53pm      Too bad!!!
 MINOR 1; 07/14/2023-8:54pm          Lmfao

                                                4
Case 1:23-mj-00069-LDA        Document 1-1        Filed 10/26/23    Page 5 of 17 PageID #: 6




 sksmith2008; 07/14/2023-8:54pm     What’s his snap name.
 MINOR 1; 07/14/2023-8:54pm         At that bitch
 sksmith2008; 07/14/2023-8:56pm     Hahaha
                                    Is he pretty cool though?
                                    I won’t send him anything bad unless you say it’s ok. Def
                                    not any one my naked vids masterbating!! Hahahha.
                                    You ever take vids like that too?!
                                    It’s really fun to do!
                                    I have no guy to show them to though!
                                    Haha


       13.    On July 16, 2023, “sksmith2008” communicated with MINOR 1 about

“sksmith2008” sending an image or video to an 18-year-old male who was one of “Mike’s” friends.

The following messages were exchanged:

 MINOR 1; 07/16/2023-9:24am          Good morning
 sksmith2008; 07/16/2023-10:23am     Heyyyy
 MINOR 1; 07/16/2023-10:23am         Hi
 sksmith2008; 07/16/2023-10:28am     [Expired Media]
                                     Does this look good???
                                     Be honest pls!!!
 MINOR 1; 07/16/2023-10:28am         Yea
                                     It does
                                     Why
 sksmith2008; 07/16/2023-10:28am     Ok cool. Thanks.
                                     I was trying to look sexy for this guy I kinda like
 MINOR 1; 07/16/2023-10:29am         Kk
 sksmith2008; 07/16/2023-10:56am     Is that vid good or should I like show my pussy more
                                     maybe??
 MINOR 1; 07/16/2023-10:56am         Just to be. Clear you r giving some you like a vid of my
                                     naked
 sksmith2008; 07/16/2023-10:57am     Huh?? My naked??
 MINOR 1; 07/16/2023-10:57am         U naked
                                     Sorry
 sksmith2008; 07/16/2023-10:57am     Oh yeaa
                                     Yea
 MINOR 1; 07/16/2023-10:57am         Omg I would die
 sksmith2008; 07/16/2023-10:57am     [Expired Media]
 MINOR 1; 07/16/2023-10:57am         I think that’s perfect
 sksmith2008; 07/16/2023-10:57am     Is this good too??
 MINOR 1; 07/16/2023-10:58am         Yea
                                     Go ahead
                                     Send it

                                              5
Case 1:23-mj-00069-LDA               Document 1-1           Filed 10/26/23      Page 6 of 17 PageID #: 7




    sksmith2008; 07/16/2023-10:58am          He’s one of Mike’s friends
    MINOR 1; 07/16/2023-10:58am              How old
    sksmith2008; 07/16/2023-10:59am          18
    MINOR 1; 07/16/2023-11:01am              Omg
                                             Ewwww
    sksmith2008; 07/16/2023-11:01am          What?!
    MINOR 1; 07/16/2023-11:01am              Ewww
                                             18
                                             Gross
                                             But I do u boo
                                             U
                                             U do u
    sksmith2008; 07/16/2023-11:01am          Noo. Is that bad??
    MINOR 1; 07/16/2023-11:01am              I wouldn’t
                                             But that’s just me
    sksmith2008; 07/16/2023-11:03am          So don’t send him this then?!?!
    MINOR 1; 07/16/2023-11:03am              No u do it
    sksmith2008; 07/16/2023-11:04am          [Expired Media]
                                             Maybe not this?!
    MINOR 1; 07/16/2023-11:04am              No
                                             Maybe not that
                                             But the others r good
    sksmith2008; 07/16/2023-11:05am          Oh ok. I love masturbating tho!!
    MINOR 1; 07/16/2023-11:06am              I know u do
                                             U told me


           14.     A short time later MINOR 1 told “sksmith2008” that MINOR 1 was

communicating separately with a boyfriend.2 “Sksmith2008” replied “Omg. Send him a dirty pic

when he’s high. See what he says!!” “Sksmith2008” then encouraged MINOR 1 to send images

of herself to “sksmith2008”. The following messages were exchanged:

    sksmith2008; 07/16/2023-11:17am What are you wearing?
    MINOR 1; 07/16/2023-11:17am     A bra and old underwear
                                    And a bathrobe
    sksmith2008; 07/16/2023-11:18am What’s it like? Show me
                                    I never had a robe before
    MINOR 1; 07/16/2023-11:18am     [Expired Media]
                                    [Expired Media]
                                    [Expired Media]
                                    Then robe

2
    During the communications, MINOR 1 refers to several unnamed males as “boyfriends.”

                                                        6
Case 1:23-mj-00069-LDA       Document 1-1        Filed 10/26/23    Page 7 of 17 PageID #: 8




 sksmith2008; 07/16/2023-11:19am Ooo nice booty
 MINOR 1; 07/16/2023-11:19am     Thank uuu
 sksmith2008; 07/16/2023-11:19am I would take the bra off. And put the robe on. But like
                                 leave it untied. Take a pic like that.
                                 Might look really good!!!
 MINOR 1; 07/16/2023-11:20am     Kk
                                 [Expired Media]
                                 Like that
 sksmith2008; 07/16/2023-11:22am Yesss. That looks Soo good
 MINOR 1; 07/16/2023-11:22am     Ok
                                 Wait
 sksmith2008; 07/16/2023-11:23am I would try it with the undies off too
 MINOR 1; 07/16/2023-11:23am     I have a diffierent robe
 sksmith2008; 07/16/2023-11:23am Ok!
 MINOR 1; 07/16/2023-11:24am     [Expired Media]
 sksmith2008; 07/16/2023-11:24am Yea that one is better!!
 MINOR 1; 07/16/2023-11:24am     Ok
 sksmith2008; 07/16/2023-11:24am Take off your undies too and try it!


      15.    Later on July 16, 2023, “sksmith2008” asked MINOR 1 if she masturbated. They

exchanged the following messages:

 sksmith2008; 07/16/2023-4:40pm     That’s so good!!
 MINOR 1; 07/16/2023-4:41pm         Ikr
 sksmith2008; 07/16/2023-4:41pm     You should get naked! Just the see thru shirt on. That’s
                                    hot!
 MINOR 1; 07/16/2023-4:42pm         Ok
 sksmith2008; 07/16/2023-4:43pm     How’s it look?
 MINOR 1; 07/16/2023-4:44pm         I’m a little wet
                                    [Expired Media]
 sksmith2008; 07/16/2023-4:44pm     Yea. Me too
                                    You look great !
 MINOR 1; 07/16/2023-4:44pm         Actually I’m a lot wet
 sksmith2008; 07/16/2023-4:44pm     You should try rubbing your pussy like I do
 MINOR 1; 07/16/2023-4:44pm         Ok
 sksmith2008; 07/16/2023-4:45pm     [Expired Media]
                                    Try it like this
 MINOR 1; 07/16/2023-4:45pm         Ok
 sksmith2008; 07/16/2023-4:45pm     Feel good?
 MINOR 1; 07/16/2023-4:46pm         Yeah
 sksmith2008; 07/16/2023-4:46pm     Rub the clit at top in lil circles
 MINOR 1; 07/16/2023-4:46pm         Ok
                                    Omfg

                                             7
Case 1:23-mj-00069-LDA     Document 1-1        Filed 10/26/23   Page 8 of 17 PageID #: 9




 sksmith2008; 07/16/2023-4:46pm   Then slide your finger down and up a couple times
                                  Then back to circles!
 MINOR 1; 07/16/2023-4:46pm       Ok
 sksmith2008; 07/16/2023-4:46pm   Feel good?
 MINOR 1; 07/16/2023-4:47pm       My fucking god hell ya
 sksmith2008; 07/16/2023-4:47pm   How fast are you doing it?
 sksmith2008; 07/16/2023-4:49pm   Show me how fast
                                  When you slide up and down. Slide the tip of your finger
                                  inside too. I like that
                                  [Expired Media]

 sksmith2008; 07/16/2023-4:52pm   [Expired Media]
                                  Show me how your doing it!!
 MINOR 1; 07/16/2023-4:53pm       I can’t
                                  I’m on call
 sksmith2008; 07/16/2023-4:56pm   Ohhh. Does it feel good??
 MINOR 1; 07/16/2023-4:57pm       Yeah
 sksmith2008; 07/16/2023-4:58pm   Yay!!
 MINOR 1; 07/16/2023-4:58pm       I am now officially someone’s slut
 sksmith2008; 07/16/2023-4:58pm   Did my videos help you at all??
                                  Hahaha slut? Nooo
 MINOR 1; 07/16/2023-4:58pm       [Expired Media]
 MINOR 1; 07/16/2023-4:59pm       This group chat was originally called Layla is a slut
 sksmith2008; 07/16/2023-5:04pm   Ohhh. Fuck those guys!
                                  Block them all!
                                  Did you like rubbing your pussy?
 MINOR 1; 07/16/2023-5:06pm       Yea
 sksmith2008; 07/16/2023-5:06pm   Feels soooo good right!!
 MINOR 1; 07/16/2023-5:06pm       Yea
                                  Um bf is calling me mommy
 sksmith2008; 07/16/2023-5:08pm   Wish I could of seen you doing it. I could give you some
                                  pointers!!
                                  Ha. That’s ok
 MINOR 1; 07/16/2023-5:09pm       Yea
 sksmith2008; 07/16/2023-5:10pm   Did you cum?
 MINOR 1; 07/16/2023-5:10pm       Yea
                                  Why
 sksmith2008; 07/16/2023-5:14pm   That’s good!!
                                  It sucks when u can’t cum sinetimes
 sksmith2008; 07/16/2023-5:17pm   Think we made Mike cum?
 MINOR 1; 07/16/2023-5:18pm       Idk ask him
 sksmith2008; 07/16/2023-5:18pm   Omg should I??
 MINOR 1; 07/16/2023-5:18pm       Yea
 sksmith2008; 07/16/2023-5:18pm   K
 sksmith2008; 07/16/2023-5:21pm   [Expired Media]

                                           8
Case 1:23-mj-00069-LDA       Document 1-1         Filed 10/26/23   Page 9 of 17 PageID #: 10




                                     Mission success!! hahaha
 MINOR 1; 07/16/2023-5:21pm          Cute


       16.    “Sksmith2008” also discussed a developing sexual relationship between

“sksmith2008” and “Mike.” This included descriptions of “sksmith2008” performing oral sex on

“Mike.” “Sksmith2008” also sent a file, which was no longer viewable, to MINOR 1. Based on

the text communications of both “sksmith2008” and MINOR 1, it appeared that filed purported to

be a video of “sksmith2008” performing oral sex on “Mike.”

       17.    Following the discussion of oral sex, “sksmith2008” asked if they could masturbate

to files previously received from MINOR 1. They exchanged the following messages:

 sksmith2008; 07/16/2023-11:54pm        It’s ok if I look at your pics to cum??
 MINOR 1; 07/16/2023-11:54pm            Yes
 sksmith2008; 07/16/2023-11:54pm        Ok ty!!
 MINOR 1; 07/16/2023-11:54pm            Yw
 sksmith2008; 07/16/2023-11:55pm        [commenting on an Expired Media file]
                                        This one is really hot!
                                        [commenting on an Expired Media file]
                                        And this one !!
 MINOR 1; 07/16/2023-11:56pm            Kk
 sksmith2008; 07/16/2023-11:58pm        Mhmm
                                        Omg that felt soooo good
                                        Omg I cummed so much.
                                        I might go to bed. What are you doing?
 MINOR 1; 07/17/2023-12:06am            Nothing
                                        Might watch a movie
 sksmith2008; 07/17/2023-12:07am        That’s cool. Wish I was there to watch with you.
 MINOR 1; 07/17/2023-12:07am            Ik
 sksmith2008; 07/17/2023-12:07am        But I would fall asleep
 MINOR 1; 07/17/2023-12:07am            Lol
 sksmith2008; 07/17/2023-12:07am        Then you would have me naked sleeping in your bed


       18.    On July 18, 2023, “sksmith2008” again discussed a sexual relationship between

“sksmith2008” and “Mike.” “Sksmith2008” and MINOR 1 exchanged the following messages:

 sksmith2008; 07/18/2023-2:30am         Soooo things happened today.
 MINOR 1; 07/18/2023-2:31am             What happened

                                              9
Case 1:23-mj-00069-LDA           Document 1-1     Filed 10/26/23     Page 10 of 17 PageID #: 11




  sksmith2008; 07/18/2023-2:31am           Don’t freak out. But Mike and I
  MINOR 1; 07/18/2023-2:31am               What
                                           U and mike what
  sksmith2008; 07/18/2023-2:31am           [Expired Media]
  MINOR 1; 07/18/2023-2:32am               O my fucking god
                                           U fucked ur step bro
                                           Holy shit
  sksmith2008; 07/18/2023-2:32am           It felt sooooo good!!!
                                           I cummed 3 times
  MINOR 1; 07/18/2023-2:32am               Bro u r one of those girls
  sksmith2008; 07/18/2023-2:32am           Omg! So much cum
                                           I know


         19.    On July 21, 2023, “sksmith2008” sent four files to MINOR 1. The files all depicted

 the same female, approximately 16 to 19 years old, engaged in sexual intercourse with an adult

 male. Video file 6f3a05ec417c168a6d2ec72955726da1 depicted the female performing oral sex

 on the adult male, and image file b4a2255d238def197aab0589164a1a36 appeared to be a still

 image     taken     from        the   video    depicting   the     oral     sex.   Video     file

 076227fa8237eecd16c10ea3f9eb0773 depicted the female and the adult male engaged in sexual

 intercourse, and image file 6989441be38d44f5d64a4fe1314435c3 appeared to be a still image

 from the video depicting the intercourse. “Sksmith2008” and MINOR 1 exchanged the following

 messages regarding the files:

  sksmith2008; 07/21/2023-2:07pm           [video file 6f3a05ec417c168a6d2ec72955726da1]
                                           [image file b4a2255d238def197aab0589164a1a36]
  MINOR 1; 07/21/2023-2:08pm               Holy
                                           Is that u
  sksmith2008; 07/21/2023-2:09pm           Yeaaa!
  MINOR 1; 07/21/2023-2:09pm               And who else
  sksmith2008; 07/21/2023-2:09pm           Mike!
  MINOR 1; 07/21/2023-2:09pm               Omfg
                                           U fucked again
  sksmith2008; 07/21/2023-2:09pm           [video file 076227fa8237eecd16c10ea3f9eb0773]
                                           [image file 6989441be38d44f5d64a4fe1314435c3]
  MINOR 1; 07/21/2023-2:12pm               Omg
  sksmith2008; 07/21/2023-2:12pm           We both cummed!


                                                 10
Case 1:23-mj-00069-LDA       Document 1-1        Filed 10/26/23    Page 11 of 17 PageID #: 12




        20.    On    July   22,   2023,    MINOR      1   sent    “sksmith2008”   image     file

 7650fa77437f6f9c2ad33e35ba4b4b496f, which depicted MINOR 1’s face and chest with her

 naked breasts exposed. “Sksmith2008” then requested additional images from MINOR 1.

 “Sksmith2008” sent image file 54eb7a92966591d8d5402f561bea6fec, which depicted a female,

 approximately 16 to 19 years old, exposing her anus and part of her vagina. The following

 messages were exchanged regarding the files:

  sksmith2008; 07/22/2023-10:29pm         What are you doing?
  MINOR 1; 07/22/2023-10:30pm             [image file 7650fa77437f6f9c2ad33e35ba4b4b496f]
                                          Tf
                                          My tan likes
                                          Lines
  sksmith2008; 07/22/2023-10:31pm         [commenting on image file
                                          7650fa77437f6f9c2ad33e35ba4b4b496f]
                                          Tans look sooo hot
  MINOR 1; 07/22/2023-10:31pm             Ik
  sksmith2008; 07/22/2023-10:32pm         I love your tan lines
                                          How’s the bottom lines?
  MINOR 1; 07/22/2023-10:32pm             None
  sksmith2008; 07/22/2023-10:32pm         How none?
                                          [image file 54eb7a92966591d8d5402f561bea6fec]
  MINOR 1; 07/22/2023-10:33pm             Not there
  sksmith2008; 07/22/2023-10:33pm         Take one like this!!!
  MINOR 1; 07/22/2023-10:33pm             [commenting on image file
                                          54eb7a92966591d8d5402f561bea6fec]
                                          Oh OK I c u
  sksmith2008; 07/22/2023-10:33pm         Your making me wet.
  MINOR 1; 07/22/2023-10:33pm             Aww so cute
  sksmith2008; 07/22/2023-10:33pm         I’m on the couch with my mom watching tv!
  MINOR 1; 07/22/2023-10:34pm             Lol
  sksmith2008; 07/22/2023-10:35pm         I love getting wet. Feels sooo good!
                                          Are you sleeping naked?!
  MINOR 1; 07/22/2023-10:41pm             Yea
  sksmith2008; 07/22/2023-10:42pm         Wish I was there
                                          Omg. I found my mom’s dildo today!!!




                                                11
Case 1:23-mj-00069-LDA         Document 1-1       Filed 10/26/23    Page 12 of 17 PageID #: 13




        21.     On July 24, 2023, between 12:17am and 12:32am, “sksmith2008” sent five image

 files and one video file to MINOR 1. The files all depicted the same female, approximately 16-19

 years old, masturbating with a sex toy.

        22.     Also on July 24, 2023, “sksmith2008” sent a video file and an image file that

 depicted the same female, approximately 16 to 19 years old, kneeling on a bed exposing her anus

 and vagina. “Sksmith2008” again asked MINOR 1 to send a similar image. “Sksmith2008” and

 MINOR 1 exchanged the following messages regarding the files:

  sksmith2008; 07/24/2023-1:22am           [video file 817f43c07106959cf044dffbc35ed67a]
                                           [image file 7b2308a776159268ddd62e195c85d99f]
  MINOR 1; 07/24/2023-1:22am               Cool
  sksmith2008; 07/24/2023-1:23am           You should take one like this too!!
                                           We can send them both to Mike! Haha
  MINOR 1; 07/24/2023-1:24am               Lol
                                           No
  sksmith2008; 07/24/2023-1:24am           Oh. It’s ok. Sorry if you don’t wanna show me


        23.     On July 24, 2023, MINOR 1 sent image file 48b46a802d684a03ec0e8c5291225f47

 to “sksmith2008”. The file depicted MINOR 1’s face and chest with her arms covering her nude

 breasts. “Sksmith2008” then requested additional images of MINOR 1, each time requesting that

 more of MINOR 1’s breasts be shown. The following messages regarding the images were

 exchanged:

  MINOR 1; 07/24/2023-1:58am               [image file 48b46a802d684a03ec0e8c5291225f47]
                                           Is that hot
  sksmith2008; 07/24/2023-1:58am           [commenting on image file
                                           48b46a802d684a03ec0e8c5291225f47]
  MINOR 1; 07/24/2023-1:58am               Yea
                                           Ok
                                           Thanku
  sksmith2008; 07/24/2023-1:58am           It would look better if your nipples were showing
                                           Try that
  MINOR 1; 07/24/2023-1:59am               [image file 6d096fc121726465287eb5e9874ec58b]
                                           For my boy
  sksmith2008; 07/24/2023-1:59am           The other one too!!

                                                12
Case 1:23-mj-00069-LDA          Document 1-1        Filed 10/26/23     Page 13 of 17 PageID #: 14




                                            Both nipples showing. Try that maybe??
                                            Might look even better
  MINOR 1; 07/24/2023-2:01am                [image file 62c6d189096f23f53f628f5ecb8ca69d]
                                            [image file 633f1e93620d9ac9a3d100c76bf6ccb2]
                                            That
  sksmith2008; 07/24/2023-2:02am            [commenting on image file
                                            633f1e93620d9ac9a3d100c76bf6ccb2]
                                            Yes!!
                                            Can I save that one?? You look so hot!!
  MINOR 1; 07/24/2023-2:02am                Ok
                                            Yea


        24.       In reviewing the phone communications between MINOR 1 and “sksmith2008”

 OTPD verified that the images sent by MINOR 1 to “sksmith2008” were images of MINOR 1.

        25.       OTPD requested subscriber information and IP address logs for the Snapchat

 account “sksmith2008” from July 14, 2023, to August 1, 2023. Snap Inc. provided the following

 information:

        Username: sksmith2008
        Verified email address: smitty119933@gmail.com
        Creation IP Address: 96.238.52.61
        Display name: Sarah Smith
        Creation date: March 12, 2023

        26.       A review of the IP logs associated with Snapchat account “sksmith2008” indicated

 that during the period from July 14, 2023, and August 1, 2023, the account was only logged into

 and logged out of using IP address 96.238.52.61.

        27.       On August 25, 2023, in response to a legal request, Verizon provided the following

 subscriber information for IP address 96.238.52.61 during the period of time relevant to this

 investigation:

        Customer Name: Jeffrey Slinn
        Account Address: 35 Capron Farm Dr., Warwick, RI 02886
        Email Address: jeffslinn@gmail.com


                                                  13
Case 1:23-mj-00069-LDA         Document 1-1       Filed 10/26/23    Page 14 of 17 PageID #: 15




        28.      On October 4, 2023, FBI Providence requested subscriber information and IP

 address logs for Snapchat account “smitty333222.” Snap Inc. provided the following information:

        Username: smitty333222
        Verified email address:
        Creation IP Address: 96.238.52.61
        Display name: Mike
        Creation date: July 29, 2022

        Snapchat also provided account change history that showed the account previously had a

 display name of “Mike Smith” before being changed to “Mike.” The account history further

 indicated that the email address “smitty119933@gmail.com” was previously associated with the

 account. This email address matches the verified email address for “sksmith2008.”

        29.      A review of the IP logs associated with Snapchat accounts “sksmith2008” and

 “smitty333222” indicated that during the period from July 14, 2023, through August 1, 2023, the

 accounts were only logged into and logged out of from IP address 96.238.52.61. The IP logs also

 showed that when one account was logged out of, the other account was logged into. For example,

 the following IP logs were obtained for July 14, 2023:

  sksmith2008           Fri Jul 14 22:36:25 UTC 2023           LOGOUT
  smitty333222          Fri Jul 14 22:36:28 UTC 2023           APP_ONE_TAP_LOGIN
  smitty333222          Fri Jul 14 22:37:35 UTC 2023           LOGOUT
  sksmith2008           Fri Jul 14 22:37:38 UTC 2023           APP_ONE_TAP_LOGIN
  sksmith2008           Fri Jul 14 22:38:17 UTC 2023           LOGOUT
  smitty333222          Fri Jul 14 22:38:20 UTC 2023           APP_ONE_TAP_LOGIN
  smitty333222          Fri Jul 14 22:39:45 UTC 2023           LOGOUT
  sksmith2008           Fri Jul 14 22:39:48 UTC 2023           APP_ONE_TAP_LOGIN


        30.      On October 23, 2023, your Affiant obtained a federal search warrant for SLINN’s

 residence located at 35 Capron Farm Drive, Warwick, Rhode Island 02886, as well as the persons

 of SLINN and a second resident, and three vehicles registered to SLINN.




                                                14
Case 1:23-mj-00069-LDA         Document 1-1       Filed 10/26/23     Page 15 of 17 PageID #: 16




           31.   On October 26, 2023, your Affiant participated in the execution of the federal

 search warrant at SLINN’s residence. Upon arrival, law enforcement made contact with SLINN

 and a second resident. SLINN was advised of, and voluntarily waived, his Miranda rights and

 agreed to speak with your Affiant.

           32.   SLINN admitted that he operated both the “sksmith2008” account and the

 “smitty333222” account (“Mike”). He further advised that he had used the accounts to talk to

 multiple underage girls. SLINN admitted that he saved the images received from the underage

 girls for a period of time, then begin to feel guilty about his behavior. SLINN explained that he

 would then delete the account and images. SLINN would next begin the cycle of contacting young

 girls and obtaining images again. SLINN was offered the opportunity to take a polygraph, and he

 agreed.

           33.   During a pre-polygraph interview with the polygrapher and a subsequent interview

 with your Affiant, SLINN admitted that he used both the “sksmith2008” account and the “Mike”

 account to speak with underage girls. SLINN recalled that he used the accounts to talk to

 approximately thirty other girls over the previous four years who were under the age of 18.

           34.   SLINN recalled his interactions with MINOR 1. SLINN stated that he believed

 MINOR 1 was about 14 years old when he interacted with her this summer. MINOR 1 sent him

 about thirty photographs of herself. SLINN estimated at in about twenty of those photographs,

 MINOR 1 was nude. SLINN stated that in some of the photographs, MINOR 1’s nude genital area

 was exposed.

           35.   SLINN told your Affiant that he sent a picture and a video to MINOR 1 of himself

 masturbating. SLINN believed that MINOR 1 may have sent back an image of herself

 masturbating.



                                                15
Case 1:23-mj-00069-LDA         Document 1-1        Filed 10/26/23      Page 16 of 17 PageID #: 17




        36.     SLINN explained that he used one of two cellular telephones to engage in these

 conversations: a Black Samsung Galaxy S23 or a black Samsung Galaxy S20. Your Affiant knows

 based upon my training and experience that Samsung does not manufacture cellular telephones in

 Rhode Island. The vast majority of Samsung’s cellular telephones are manufactured in Vietnam.

 Accordingly, SLINN’s cellular telephones traveled in interstate or foreign commerce at some

 point. Furthermore, Snapchat is an application that utilizes the internet, which is a means and

 facility of interstate commerce.

        37.     Under federal law, Attempted Production of Child Pornography is a crime pursuant

 to 18 U.S.C. § 2251(a). A person is guilty of Attempted Production of Child Pornography if he or

 she attempted to employ, use, persuade, induce, entice, or coerce any minor to engage in any

 sexually explicit conduct for the purpose of either producing any visual depiction of such sexually

 explicit conduct or transmitting a live visual depiction of such conduct, and the person knew or

 had reason to know that such visual depiction would be transported or transmitted using any means

 or facility of interstate or foreign commerce or in or affecting interstate or foreign commerce.

        38.     Under federal law, Receipt of Child Pornography is a crime pursuant to 18 U.S.C.

 § 2252A(a)(2). A person is guilty of Receipt of Child Pornography if he or she knowingly receives

 any image of a minor engaged in sexually explicit conduct that has been mailed, shipped, or

 transported in interstate or foreign commerce by any means, including by computer.

        20.      Based upon the foregoing, I believe there is probable cause to find that between

 July 14, 2023, and August 1, 2023, JEFFREY LOCKE SLINN did knowingly use any facility or

 means of interstate or foreign commerce, to wit the internet and his cellular telephone, which was

 manufactured in Vietnam, to attempt to persuade, induce, entice, or coerce an individual who has

 not attained the age of 18 years, to engage in sexual activity for which any person can be charged



                                                 16
Case 1:23-mj-00069-LDA         Document 1-1       Filed 10/26/23     Page 17 of 17 PageID #: 18




 with a criminal offense, in violation of 18 U.S.C. § 2422(b); and on or about July 22, 2023 did

 knowingly transfer obscene material to another individual under the age of sixteen years using the

 mail or any means or any facility of interstate or foreign commerce, in violation of 18 U.S.C. §

 1470.


                                              _________________________________________
                                              Craig A. Graham
                                              Special Agent, Federal Bureau of Investigation

          Attested to by the applicant in accordance with the requirements of Fed.
          R. Crim. P. 4.1 by Telephone. (specify reliable electronic means)

    ______________________
             October 26, 2023                 __________________________________
           Date                                     Judge’s signature

    ______________________                    Lincoln D. Almond. US Magistrate Judge
      Providence
         City and State RI                           Printed name and title




                                                17
